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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION


UNITED STATES OF AMERICA           )
                                   )       CRIMINAL ACTION NO.
        v.                         )          3:15cr240-MHT
                                   )
STEPHEN HOWARD                     )

                                ORDER

    It is ORDERED that:

    (1) Defendant Stephen Howard’s motion for extension

of time (doc. no. 114) is granted.

    (2)      The   defendant     may    file     a   reply     to       the

government’s responses (doc. no. 109, 111) by July 10,

2020.

    (3) The clerk of court shall mail the defendant a

copy of the government’s responses (doc. no. 109, 111).

    DONE, this the 23rd day of June, 2020.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
